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     PGA TOUR, INC.
13
                                   UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN JOSE DIVISION
16
     MATT JONES; BRYSON DECHAMBEAU;                 Case No. 5:22-CV-04486-BLF
17   PETER UIHLEIN; and LIV GOLF, INC.,
                                                    [PROPOSED] ORDER RE: DEFENDANT
18                  Plaintiffs,                     AND CROSS-CLAIMANT PGA TOUR,
                                                    INC.’S ADMINISTRATIVE MOTION TO
19             v.                                   CONSIDER WHETHER ANOTHER
                                                    PARTY’S MATERIAL SHOULD BE
20   PGA TOUR, INC.,                                SEALED PURSUANT TO L.R. 79-5(F)

21                  Defendant.                      Judge:        Hon. Beth Labson Freeman

22                                                  Date Filed:   August 3, 2022
     PGA TOUR, INC.,
23                                                  Trial Date:   January 8, 2024
                    Counter-Claimant,
24             v.
25   LIV GOLF, INC.,
26                  Counter-Defendant.
27

28

       [PROPOSED] ORDER RE: PGA TOUR, INC.’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
              ANOTHER PARTY’S MATERIAL SHOULD BE SEALED PURSUANT TO L.R. 79-5(F)
                                    Case No. 5:22-CV-04486-BLF
     2044918
     Case 5:22-cv-04486-BLF Document 254-2 Filed 02/05/23 Page 2 of 2



 1             The Court, having fully considered the papers and arguments presented by the parties,

 2   hereby GRANTS/DENIES the Administrative Motion to Consider Whether Another Party’s

 3   Material Should be Sealed filed by Defendant and Counterclaimant PGA TOUR, INC. (the

 4   “TOUR”) pursuant to Local Rule 79-5(f). The following documents will/will not remain sealed,

 5   as follows:

 6
       ECF.        Document        Portion(s) to       Reason(s) for Sealing          Court’s Use
 7     No.                         Seal

 8     255         Joint Request   Highlighted         Refers to materials
                                   Portions at Page    designated by opposing
 9                                 6, Lines 10-15      party under the terms of a
                                   and Lines 16-19     stipulated protective order;
10                                                     sealing not sought by the
                                                       TOUR
11

12
               IT IS SO ORDERED.
13

14    Dated:
15                                                       HON. BETH LABSON FREEMAN
                                                         UNITED STATES DISTRICT JUDGE
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                                                  1
       [PROPOSED] ORDER RE: PGA TOUR, INC.’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
              ANOTHER PARTY’S MATERIAL SHOULD BE SEALED PURSUANT TO L.R. 79-5(F)
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